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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


JAMES A. OFFRINGA,

             Plaintiff,
                                                        CASE NO. 1:12-CV-1321
v.
                                                        HON. ROBERT HOLMES BELL
GRAND RAPIDS GRIFFINS,

             Defendant.
                                 /


                                 DISMISSAL ORDER

      Pursuant to the stipulation of the parties (docket #21), this matter is hereby

DISMISSED with prejudice and without costs.




Date: April 25, 2013                             /s/ Robert Holmes Bell
                                                 ROBERT HOLMES BELL
                                                 UNITED STATES DISTRICT JUDGE
